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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                 PITTSBURG DIVISION

Terence Karenbauer                                        Case No.:
322 Cornetti Rd
Fenelton, PA 16034                                        Judge:

         Plaintiff,
                                                             COMPLAINT FOR DAMAGES
v.                                                             UNDER THE FAIR DEBT
                                                            COLLECTION PRACTICES ACT,
National Check Processing, LLC                            INVASION OF PRIVACY, AND OTHER
c/o Michelle Turner, Registered Agent                            EQUITABLE RELIEF
10605 Theresa Dr, Suite 6
Jacksonville, FL 32246
                                                           JURY DEMAND ENDORSED HEREIN
         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692 and under the doctrine of Supplemental Jurisdiction pursuant

     to 28 U.S.C. §1367(a). Venue is proper because a substantial part of the events giving rise to

     this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around April 27, 2010, Defendant telephoned Plaintiff’s place of employment.




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8. During this communication, Defendant spoke with the receptionist (“Receptionist”) and left

   a message for Plaintiff.

9. During this communication, Defendant disclosed the existence, nature, and/or amount of the

   debt to Receptionist.

10. During this communication, Defendant falsely represented that Plaintiff was a “person of

   interest.”

11. During this communication, Defendant falsely represented that there would be “a

   confrontation” at Plaintiff’s place of employment if Plaintiff did not call Defendant

   immediately

12. On or around April 27, 2010, Plaintiff telephoned Defendant.

13. During this communication, Defendant failed to state the Defendant was a debt collector.

14. During this communication, Defendant falsely represented that there were fraud charges

   pending against Plaintiff.

15. During this communication, Defendant threatened to contact Plaintiff’s county about the

   charges if the debt was not paid that day.

16. At the time of this communication, Defendant had neither the intent nor ability to pursue

   fraud charges against Plaintiff.

17. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

18. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

19. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




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20. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party and failed to

   comply with 15 U.S.C. §1692b.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

21. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

22. Defendant violated 15 U.S.C. §1692e in that Defendant failed to advise Plaintiff during

   verbal communications that Defendant was a debt collector.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

23. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

24. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.

                                          COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

25. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

26. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.

                                           COUNT FIVE

                       Violation of the Fair Debt Collection Practices Act

27. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

28. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   communications with Plaintiff.




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                                               COUNT SIX

                       Violation of the Fair Debt Collection Practices Act

29. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

30. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect the debt.

                                           COUNT SEVEN

                   Invasion of Privacy by Public Disclosure of a Private Fact

31. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

32. Defendant released information which was private to Plaintiff and concerned Plaintiff’s

   private life to Plaintiff’s receptionist.

33. Defendant’s accusation of a crime and the threat of legal action to this person is highly

   offensive.

34. The information disclosed is not of legitimate concern to the public.

                                           COUNT EIGHT

                        Invasion of Privacy by Intrusion upon Seclusion

35. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

36. Defendant intentionally interfered, physically or otherwise, with Plaintiff’s solitude,

   seclusion, and or private concerns.

37. Defendant intentionally caused harm to Plaintiff’s emotional well being by engaging in

   highly offensive conduct in the course of collecting a debt, as described herein.

38. Plaintiff has a reasonable expectation of privacy in Plaintiff’s solitude, seclusion, and or

   private concerns or affairs.




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39. The intrusion by Defendant occurred in a way that would be highly offensive to a reasonable

    person in that position.

40. As a result of such invasions of privacy, Plaintiff is entitled to actual damages in an amount

    to be determined at trial.

                                          JURY DEMAND

41. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

42. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. Judgment, in an amount to be determined at trial, against Defendant for the

                Invasion of Privacy by Intrusion upon Seclusion.

            c. Judgment, in an amount to be determined at trial, against Defendant for the

                Invasion of Privacy by Public Disclosure of a Private Fact.

            d. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

                                                By: /s/ Richard J. Meier
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